               Case 5:09-cr-50115-JLV Document 56 Filed 04/11/11 Page 1 of 1 PageID #: 216
                                            UNITED STATES DISTRICT COURT

                                             DISTRICT OF SOUTH DAKOTA

                                                   WESTERN DIVISION


               United States of America,                     )              CR. 09-50115-01
                                                             )
                                                             )
                      Plaintiff,                             )
                                                             )
                      vs.                                    )              SENTENCING EXHIBIT LIST
                                                             )
               Larry M. Hopkins,                             )
                                                             )
                               Defendant.                    )


 Plff   Dfdt          Witness                        Description                 Off.   Obj.   Rec.   Ref.     Date
 No.    No.                                                                                                    Filed


          1.                                        BMI Contract                  D      N      X            4/11/2011

          2.                                 Letter From Jeanada J. Piper         D      N      X            4/11/2011




R: Relevancy          A: Authenticity
H: Hearsay            O: Other (specify)              1
N: None
